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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE


 In re:                                            Chapter 11

 BOY SCOUTS OF AMERICA AND                         Case No. 20-10342 (LSS)
 DELAWARE BSA, LLC,
                                                   Case No. 20-10343 (LSS)
                      Debtors.
                                                   (Jointly Administered)

 BOY SCOUTS OF AMERICA,

                      Plaintiff,                   Adv. Pro. No. 20-50527 (LSS)

 v.

 A.A., et al.,

                      Defendants.


                   NOTICE OF SERVICE OF SUBPOENA DUCES TECUM

          Counsel for The Kentucky Creditors in the above-referenced adversarial proceeding hereby

provides notice that service of the subpoena duces tecum (Docket No. 6537-1) directed to

JPMorgan Chase Bank, N.A. was completed on October 12, 2021.



                                                      Respectfully submitted,

                                                      /s/ Raeann Warner, Esq.
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                                CERTIFICATE OF SERVICE

      I hereby certify that a true and correct copy of the foregoing was served this 13th day of
October, 2021 upon counsel for the parties via electronic mail.

                                                    /s/ Raeann Warner, Esq.
                                                    Raeann Warner, Esq.
